Case 2:24-cv-14037-AMC Document 44 Entered on FLSD Docket 03/14/2025 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

                                    Case No. 2:24-cv-14037-AMC

  ALEKSEY TOVARIAN,

          Plaintiff,


  RUBIC, LLC,

          Defendant.
                                        /

                       RUBIC’S CERTIFICATE OF INTERESTED PERSONS
                         AND CORPORATE DISCLOSURE STATEMENT

          Pursuant to Rule 7.1 and the Court’s Order [ECF No. 43], Defendant Rubic, LLC

  certifies that the following persons have an interest in the outcome of this case:

          1.      Arcadier, Mauricio (Attorney for Plaintiff);

          2.      Arcadier, Biggie & Wood, PLLLC (Attorneys for Plaintiff);

          3.      Panova, Kateryna (Dismissed Defendant);

          4.      Rubic, LLC (Defendant);

          5.      Slater, James M. (Attorney for Defendant);

          6.      Slater Legal PLLC (Attorneys for Defendant); and

          7.      Tovarian, Aleksey (Plaintiff).

          No publicly traded company or corporation is known to have an interest in the outcome

  of this case.

          As noted in its earlier corporate disclosure statement [ECF No. 6], Defendant Rubic, LLC

  hereby states that it is a privately held limited liability company with no parent company. No

  publicly held corporation owns 10 percent or more of its interest.
Case 2:24-cv-14037-AMC Document 44 Entered on FLSD Docket 03/14/2025 Page 2 of 2




  Dated: March 14, 2025.

                                     Respectfully submitted,

                                     James M. Slater
                                     James M. Slater (FBN 111779)
                                     Slater Legal PLLC
                                     9000 Dadeland Blvd #1500
                                     Miami, Florida 33156
                                     james@slater.legal
                                     Tel. (305) 523-9023

                                     Attorneys for Defendant Rubic, LLC




                                    C-2 of 2
